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                       UNITED STATES DISTRCT COURT
                        DISTRICT OF MASSACHUSETTS


MARK J. LANCE

        Plaintiff
                                                   COMPLAINT
v.
                                                   AND JURY DEMAND
PNC BANK, N.A

        Defendant



                                NATURE OF THE CASE

        1.      Plaintiff Mark J. Lance filed for Chapter 7 bankruptcy and discharged his

mortgage loan, serviced by defendant PNC Bank, N.A. Although Lance had no further

personal liability for the debt, PNC nevertheless reported the account on his credit report

as overdue, in violation of the bankruptcy discharge injunction under 11 U.S.C. § 524.

This also violated the Massachusetts credit reporting statute, G.L. c. 93, § 54A, which

prohibits furnishers of consumer credit information from providing an inaccurate account

status. PNC’s wrongful reporting cost Lance a substantial employment opportunity.


                             JURISDICTION AND VENUE

        2.      The Court has jurisdiction over the Lance’s claims based on diversity

jurisdiction and the amount in controversy exceeds $75,000 pursuant to 28 U.S.C. §

1332.

        3.      Venue is proper in the District of Massachusetts because the Defendant

transacts business here and a substantial portion of the acts giving rise to this action

occurred here, pursuant to 28 U.S.C. § 1391(b).



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                                       PARTIES

        4.     Mark Lance (“Plaintiff”) is a natural person residing at 1101 Princeton

Way, Westford, MA 01866.

        5.     PNC Bank, N.A. (“PNC” or “Defendant”) is a nationally charted bank

with principal offices located in Wilmington, Delaware. PNC regularly does business in

Massachusetts. PNC is in the business of servicing mortgage loans.


                                   BACKGROUND

        6.     In 2008, Lance obtained a mortgage and note in the amount of

$474,231.00 from National City Bank on a home located at 165 Playstead Rd., Medford,

MA 02155.

        7.     PNC acquired National City Bank in 2008, and began servicing Lance’s

loan.

        8.     In August 2010, Lance filed for chapter 7 bankruptcy, Case No. 10-19540.

(Exhibit A.)

        9.     On December 1, 2010, Lance received a discharge order in his case.

(Exhibit B.)

        10.    Included in his discharge order was his mortgage in favor of PNC.

        11.    In May 2013, PNC began foreclosure proceedings on Lance’s home.

        12.    Lance and PNC reached an agreement on January 31, 2014 to permanently

modify his loan. At no point did Lance reaffirm his mortgage with PNC.

        13.    After the modification, in July, 2014, Lance applied for employment with

Mountain One Bank (“Mountain One”).




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       14.     On July 25, 2014, Mountain One offered Lance a position as Vice

President Regional Sales Manager & Recruiter. (Exhibit C.)

       15.     The offer contained an annual compensation based on salary and

commission. The annual salary was $60,000 and additional compensation would be based

on performance and commission incentives.

       16.     The offer from Mountain One was also contingent upon a background

check and a credit check.

       17.     On or about July 28, 2014 Lance accepted and authorized Mountain One

to check his credit report.

       18.     Mountain One obtained his credit report and included in the report was a

tradeline from PNC reporting that foreclosure proceedings had started as of May 2013.

For the months of May, June, July, August, September, October, November, December,

and January, PNC reported that the account was in foreclosure. The report further stated

Lance had a past due balance of $99,726. (Exhibit D.)

       19.     Lance was contacted by a Human Resource representative from Mountain

One expressing concern about the foreclosure tradeline reported by PNC. Lance

explained that the debt and mortgage had been discharged and was being improperly

reported.

       20.     On or about July 29, 2014, Lance filed a dispute with Experian, disputing

the information furnished by PNC relating to the foreclosure status.

       21.     Despite his explanation and dispute, on or about July 31, 2014 Mountain

One declined to hire Lance based on PNC’s trade line.




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       22.      The next day Lance informed PNC that its improper reporting cost him a

job opportunity and requested PNC properly report the account. (Exhibit E.)

       23.      Despite acknowledging the dispute, PNC still reported that “Foreclosure

proceeding started,” and that the account is 180 days past due.

       24.      As a result of PNC’s actions Lance lost a substantial employment

opportunity, suffered damage to his credit, and caused Lance unnecessary mental anguish

and emotional distress.


                                      COUNT I.
             Violation of Bankruptcy Discharge Injunction, 11 U.S.C. § 524

       25.      The preceding paragraphs are incorporated by reference.

       26.      By discharging the mortgage in his chapter seven bankruptcy, Lance was

no longer personally liable for the debt.

       27.      The discharge order operates as “an injunction against the commencement

or continuation of an action, the employment of process, or an act, to collect, recover or

offset any such debt as a personal liability of the debtor.” 11 U.S.C. § 524(a)(2).

       28.      Credit reporting has repeatedly been held as an attempt to collect a debt.

See Rivera v. Bank One, 145 F.R.D. 614, 623 (D. P.R. 1993) (a creditor’s report of a debt

to a consumer reporting agency is a “powerful tool, designed in part to wrench

compliance with payment terms”); Brady v. Credit Recovery Co., 160 F.3d 64 (1st Cir.

1998) (debt collector liable for credit reporting on consumer account); Smith v. Encore

Capital Group Inc., 966 F. Supp. 2d 817 (E.D. Wis. 2013) (denying motion to dismiss for

debt collector’s inaccurate reporting on credit report).




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       29.     PNC violated the discharge injunction by reporting an account balance on

Lance’s credit report.

       30.     PNC continued to report that the discharged debt is 180 days past due, has

a past-due balance of $99,726 and has an account balance of $465,430.

       31.     By reporting a balance owed, PNC was attempting to collect on the debt,

in violation of 11 U.S.C. § 524.


                                    COUNT II.
                Massachusetts Credit Reporting Act, G.L. c. 93, § 54A

       32.     The preceding paragraphs are incorporated by reference.

       33.     PNC furnished information to Experian, a consumer reporting agency.

       34.     As a furnisher of information, PNC may not provide information to a

consumer reporting agency if it knows or has reasonable cause to believe such

information is not accurate or complete.

       35.     Prior to August 7, 2014, PNC was reporting Lance’s discharged mortgage

as 180 days past due.

       36.     Prior to August 7, 2014, PNC was reporting Lance’s discharged mortgage

was in foreclosure.

       37.     Prior to August 7, 2014, PNC was reporting Lance’s discharged mortgage

had a past due balance of $99,726.

       38.     Prior to August 7, 2014, PNC reported Lance’s discharged mortgage had

an account balance of $465,430.

       39.     On or about August 7, 2014, PNC received a dispute letter from Lance

that it was improperly reporting the discharged mortgage.




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       40.     On or about August 13, 2014, Lance received the results of his dispute

from Experian with a current credit report. (Exhibit F.)

       41.     Despite his dispute, PNC continued to report that foreclosure proceedings

had started.

       42.     On or about September 9, 2014 PNC acknowledged the dispute received

on August 7, 2014, and stated that it instructed the credit bureaus to report the loan as

discharged in bankruptcy. (Exhibit G.)

       43.     PNC failed to properly report Lance’s discharged mortgage, and despite

receiving Lance’s dispute on August 7, 2014, failed to maintain reasonable procedures to

comply with c. 93, § 54A(g), as they continued to furnish inaccurate information about

Lance’s discharged mortgage after receiving the dispute.


                                   COUNT III.
                 Massachusetts Consumer Protection Act, G.L. c. 93A

       44.     The preceding paragraphs are incorporated by reference.

       45.     Lance is not entitled to make a claim under G.L. c. 93A, § 11.

       46.     PNC is engaged in trade or commerce in Massachusetts by servicing

residential mortgages, including Lance’s discharged mortgage.

       47.     PNC has engaged in unfair and deceptive acts and practices with respect to

Lance’s discharged mortgage.

       48.     Lance sent a demand letter for an offer of settlement to PNC on November

24, 2014. (Exhibit H.)

       49.     PNC received the demand letter on December 1, 2014.




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        50.      On December 31, 2014, PNC through counsel, requested a two-week

extension to respond to Lance’s demand letter. The request was granted.

        51.      To date, PNC has failed or refused to respond to Lance’s settlement

demand letter.

        52.      PNC’s actions have cost Lance a job opportunity with Mountain One

Bank, an annual salary, damaged his credit, caused Lance unnecessary pain and suffering

and mental anguish, and incur legal costs and fees in his attempt to have PNC properly

report his credit.


                                REQUEST FOR RELIEF

        WHEREFORE, plaintiff Mark J. Lance requests the following relief:

        a) Judgment in his favor and against defendant on all counts;

        b) Actual and compensatory damages;

        c) Punitive damages;

        d) Costs, interest, and attorney fees; and

        e) Any other relief available to him at law or in equity.



                                     JURY DEMAND

        Plaintiff Mark J. Lance hereby requests a jury on all issues so triable.




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                                    Respectfully submitted,

                                    Plaintiff,
                                    Mark J. Lance,
                                    By counsel,

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